                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

LAURIE MALONE                                   :            CIVIL ACTION
                                                :
   v.                                           :            No. 17-5372
                                                :
CITY OF PHILADELPHIA                            :

                                            ORDER

        AND NOW, this 17th day of April, 2018, upon consideration of Defendant City of

Philadelphia’s Motion to Dismiss for Failure to State a Claim, Plaintiff Laurie Malone’s response

thereto, Defendant’s Reply, and the parties’ presentations at an April 12, 2018, oral argument, it

is ORDERED the Motion (Document 5) is DENIED.                 Plaintiff having filed an Amended

Complaint, it is further ORDERED Defendant’s first Motion to Dismiss for Failure to State a

Claim (Document 3) is DISMISSED as MOOT.

        A scheduling order will be entered separately.




                                                    BY THE COURT:



                                                    /s/ Judge R. Sánchez
                                                    Juan R. Sánchez, J.
